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                      Exhibit A

             Defendant’s Notice of Removal
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STATE OF NORTH DAKOTA                                                        DISTRICT COURT

COUNTY OF CASS                                          EAST CENTRAL JUDICIAL DISTRICT



Weather Modification LLC, a North Dakota                   Court File No. __________
limited liability company, and Fargo Jet Center
LLC, a North Dakota limited liability
company,
                                                                   SUMMONS
                   Plaintiffs,

       v.

Neil S. Brackin,

                   Defendant.


THE STATE OF NORTH DAKOTA TO THE ABOVE-NAMED DEFENDANT:

       [1.]    You are hereby summoned and required to appear and defend against the

Complaint in this action which is herewith served upon you by serving upon the undersigned an

Answer or other proper response within twenty-one (21) days after service of this Summons

upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken

against you for the relief demanded in the Complaint.
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 [2.]   Dated: April 7, 2020         TAFT STETTINIUS & HOLLISTER LLP



                                     By:       s/Jason R. Asmus
                                          Charles B. Rogers (ND #07415)
                                          Jason R. Asmus (ND# 09104)
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                                     Attorneys    for  Plaintiffs  Weather
                                     Modification LLC and Fargo Jet Center
                                     LLC




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STATE OF NORTH DAKOTA                                                         DISTRICT COURT

COUNTY OF CASS                                          EAST CENTRAL JUDICIAL DISTRICT



Weather Modification LLC, a North Dakota                    Court File No. __________
limited liability company, and Fargo Jet Center
LLC, a North Dakota limited liability
company,
                                                                  COMPLAINT
                   Plaintiffs,

       v.

Neil S. Brackin,

                   Defendant.


       [1.]    Plaintiffs Weather Modification LLC d/b/a Weather Modification International

(“WMI”) and Fargo Jet Center LLC (“Fargo Jet”) (collectively, “Plaintiffs”), for their Complaint

against Defendant Neil S. Brackin (“Defendant” or “Brackin”), state and allege the following:

                                       INTRODUCTION

       [2.]    Brackin was WMI’s President and also a member of Fargo Jet’s Board of

Governors during the relevant time period. WMI and Fargo Jet recently discovered that Brackin,

in violation of his fiduciary and contractual obligations, engaged in a series of actions designed

to divert funds and business opportunities away from WMI and Fargo Jet for his own personal

benefit or for the benefit of his entities or other entities that he utilized in furtherance of his

scheme.

       [3.]    More specifically, WMI completed a cloud seeding project for a customer in India

in 2019. Brackin diverted the payments made in respect of WMI’s work on that project to an

entity he owned, rather than to WMI. WMI should have received $2,100,000 for the project, but

Brackin’s actions shortchanged WMI by $1,025,000, which amount remains unpaid. On top of
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that, both before and after his termination, Brackin has attempted to divert other projects away

from WMI and Fargo Jet and to other entities he owns or with which he has a relationship.

        [4.]    Brackin has been removed from his positions with WMI and Fargo Jet.

Nonetheless, his wrongful conduct has substantially harmed the companies. WMI and Fargo Jet

bring this lawsuit to obtain appropriate relief for the substantial and continuing harm resulting

from Brackin’s wrongful conduct.

                                        THE PARTIES

        [5.]    WMI is a North Dakota limited liability company with its principal place of

business at 3802 20th Street North, Fargo, North Dakota 58102-0908. WMI was formed 1966 as

a North Dakota corporation, and it was converted to a limited liability company as of January 1,

2016.    WMI is a family business owned by Patrick and Jim Sweeney (collectively, the

“Sweeneys”) and non-party SFH, Inc. (“SFH”), a North Dakota corporation owned by trusts

owned and controlled by Patrick Sweeney. WMI is the sole owner of non-party Ice Crystal

Engineering, LLC (“ICE”), a North Dakota limited liability company, which is involved in

business operations with WMI as described herein.

        [6.]    Fargo Jet is a North Dakota limited liability company with its principal place of

business at 3802 20th Street North, Fargo, North Dakota 58102-0908. Fargo Jet is principally

owned by SFH and the Sweeneys, and is also involved in business operations with WMI as

described herein.

        [7.]    Brackin is a former employee and President of WMI, and former member and

governor of Fargo Jet. Upon information and belief, Brackin is a resident of Minnesota, residing

at 15612 Highland Heights Drive, Minnetonka, Minnesota 55345. Brackin regularly conducted

business for, communicated with and entered into contracts with WMI and Fargo Jet in Fargo,

North Dakota.


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                                      JURISDICTION AND VENUE

        [8.]     This Court has subject matter jurisdiction over this lawsuit pursuant to N.D.

Const. art. VI, 8 and N.D.C.C. § 27-05-06

        [9.]     This Court has personal jurisdiction over the parties pursuant to North Dakota

law, including N.D.R.Civ.P. 4(b).

        [10.]    Venue is proper in this Court pursuant to N.D.C.C. § 28-04-05.

                                        BACKGROUND FACTS

A.      WMI’S AND FARGO JET’S BUSINESS

        [11.]    WMI is a global atmospheric sciences company committed to continued advances

in the field of weather modification. Weather modification, commonly referred to as cloud

seeding, is the application of scientific technology that can enhance a cloud’s ability to produce

precipitation.

        [12.]    Fargo Jet is a fixed-base operator (“FBO”) and provides aeronautical services

such as fueling, hangaring, tie-down and parking, aircraft rental, and aircraft maintenance. Fargo

Jet also leases and sells aircraft.

        [13.]    WMI, ICE and Fargo Jet work together in the cloud seeding business. In simple

terms, WMI, ICE and Fargo Jet seed clouds using confidential, proprietary technology that

causes clouds to generate precipitation. In general terms, this is done by flying planes into the

clouds and dispensing chemicals from flares into the clouds. WMI, ICE and Fargo Jet (a) sell

products or services that provide cloud seeding services or equipment, including planes and radar

systems, (b) modify planes by attaching essential equipment that has been approved for cloud




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seeding through supplemental type certificates (“STCs”) owned by Fargo Jet,1 and (c) provide

pilots to fly the planes (collectively, the “Weather Modification Services”).

       [14.]   In general, WMI contracts with governmental customers to provide Weather

Modification Services. This is a critical service to many governments around the world where

additional precipitation is needed. ICE provides the flares and chemicals that are dispensed into

the clouds. Fargo Jet provides planes and other equipment used in the process.

       [15.]   Contracting with each governmental entity is usually a lengthy process and

generally consists of the following: (a) the government sends to prospective vendors requests for

proposals outlining the services that the governmental entity seeks; (b) vendors then submit

proposals in response; (c) the government conducts interviews and scoring process for each

vendor and then issues a tentative award to one vendor; and (d) the selected vendor then has a

period of time to negotiate a final contract with the designated governmental entity. Because this

process usually takes many months (and even years), vendors like WMI are working on contracts

for many months before they are awarded. WMI’s processes, specifications, methodologies and

financial information utilized in responding to these proposals are confidential and proprietary.

       [16.]   WMI, Fargo Jet and ICE have customers around the world. For example, they

provide Weather Modification Services in India, China, Canada, Africa, Saudi Arabia and, of

course, the United States. This business, which at one time was considered of questionable

value, has now been widely accepted and embraced by governments and modern science around

the world.



1
         STCs are Federal Aviation Administration (“FAA”)-authorized modifications to existing
planes. It takes considerable time to obtain approval for STCs from the FAA. The STCs are
critical to the Weather Modification Services and they must be obtained from the FAA so that
essential equipment can be attached to the planes to do the weather modification. This
equipment is most often flares and weather monitoring devices.


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B.     BRACKIN’S INVOLVEMENT WITH WMI, FARGO JET AND ICE

       [17.]   Brackin was hired by Exclusive Aerospace LLC d/b/a Premier Jet Center

(“Premier”), which is a FBO that is wholly owned by Fargo Jet, in October 2014 as the Vice

President of Flight Operations.

       [18.]   In connection with and as a condition of his employment, on October 1, 2014,

Brackin entered into a Confidentiality Agreement & Assignment of Inventions (“Confidentiality

Agreement”) with Fargo Jet and WMI.           A true and correct copy of the Confidentiality

Agreement is attached hereto as Exhibit 1 and incorporated herein by reference.            The

Confidentiality Agreement provides, in relevant part, as follows:

       At Fargo Jet Center, Inc. and Weather Modification, Inc., (the “Company”) we
       are involved in the development, production and sale of technical products and
       services in a highly competitive market. Breaches of confidentially can seriously
       impair the success of this Company and, in turn, the success of its Team Members
       and other service providers.

       In order to impress upon you the sensitive nature of your position, the Company
       requests that you read carefully and sign this Confidentiality Agreement and
       Assignment of Inventions. By signing the following statement, you acknowledge
       that you fully understand the confidential nature of your position and agree to
       not breach this confidentiality.

       I, Neil Bracken, having accepted a position at the Company as either a Team
       Member or an independent contractor/consultant, hereby acknowledge that I am
       fully aware of the confidential nature of my position and my obligation to the
       Company. I understand and agree that research, production methods,
       inventions, process methods, software, customer lists, company trade secrets
       and financial information of all types are extremely confidential, and are the
       property of the Company. This specifically includes any software that I author or
       assist in authoring, modify or am otherwise exposed to through my employment
       with the Company. I realize and agree that any unauthorized disclosure of any
       such confidential information would be in violation of my responsibilities and
       this agreement and would injure the Company. Accordingly, I pledge and agree
       that I will strictly maintain the confidentiality of all of this information, and
       that I will only release such information upon the proper authorization of my
       Manager. Upon expiration or termination of my employment with the Company,
       I will not reveal any confidential information unless specifically authorized and
       directed to do so by the Company. I understand that a violation of this
       confidential relationship is considered gross misconduct and is grounds for


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       dismissal. I further acknowledge that disclosure of confidential information
       may subject me to liability under North Dakota law. This agreement does not
       constitute a waiver of the statutory and common law right of the Company for the
       protection of trade secrets. In the event that my employment is terminated by me
       or by the Company, I will return to the Company, all documents and tangible
       property on or before my last day of employment. I further understand and agree
       that all inventions, software, processes, documents, ideas, concepts and other
       materials developed through my efforts as a result of my employment with the
       Company shall immediately become the property of the Company.

                                             * * *

       Nothing in this Agreement shall be construed to convey any rights to permanent
       employment or disturb the at-will employment relationship between myself and
       the Company. I understand that either party may terminate the employment
       relationship at any time, for any reason.

(Emphasis added).

       [19.]   In connection with and as a condition of his employment, on October 1, 2014,

Brackin acknowledged his receipt of an agreement to abide by the Team Member Handbook of

WMI and Fargo Jet. A true and correct copy of the acknowledgement form signed by Brackin is

attached hereto as Exhibit 2 and incorporated herein by reference.           The Team Member

Handbook was revised as of November 1, 2017, and Brackin continued thereafter to be subject to

it. A true and correct copy of the Team Member Handbook, revised as of November 1, 2017,

Agreement is attached hereto as Exhibit 3 and incorporated herein by reference.

       [20.]   With respect to confidentiality, the Team Member Handbook provides, in relevant

part, as follows:

       Confidentiality is an essential part of the Company’s services. Our customers and
       co-workers give us private information about themselves and/or their business and
       rightfully trust us to keep this information in confidence. Confidential information
       includes, but is not limited to:

           •   Customer information such as accounts receivable balances, credit
               worthiness, assets owned or operated and project information;

           •   Technical information used on Company operations and;



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           •   Team Member information such as wage information, medical data,
               account information or personal issues discussed in confidence.

       A Team Member’s role in privacy protection is critical. Team Members may be
       exposed to confidential information regarding customers and/or Company
       business that must never be discussed with anyone including family members or
       other Company Team Members. Doing so damages the customer’s trust in us
       and can result in loss of business or possibly even legal action. Team Members
       are required to sign a Confidentiality Agreement upon employment.

       Lack of discretion in these matters is very serious. Regardless of position, title
       and status in the Company, unauthorized discussion and/or release of confidential
       information may result in disciplinary action, including termination of
       employment.

(Emphasis added).

       [21.]   With respect to conflicts of interest, the Team Member Handbook provides, in

relevant part, as follows:

       Conflicts of interest are situations, in which the Company Team Members may
       have the opportunity to influence the Company administrative or business
       decisions in ways that could lead to personal gain, give improper advantage to self
       or others or interfere with the protection of information. A Team Member’s
       position, interest and employment obligation shall be to the Company while
       employed. Company property, information or business opportunities may not be
       used for personal gain. If there is a question as to whether a conflict of interest
       will exist, Team Members should consult their Manager

(Emphasis added).

       [22.]   With respect to outside employment, the Team Member Handbook provides, in

relevant part, as follows:

       The Company respects a Team Member’s right to participate in activities outside
       of their employment, which do not conflict with the interests of the organization.
       If considering outside employment, Team Members should avoid any situation
       which will adversely affect their job performance or detract from their full
       attention and scheduled hours at the Company.

       A Team Member is not permitted to engage in any activity as a self-employed
       individual or hold employment at another Company or business which is in any
       way competitive with the Company business or which would adversely affect
       your employment with the Company. This would include reselling parts or
       providing services to other companies or persons that could be customers of the


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       Company. Team Members are encouraged to speak with their Manager about
       outside employment.

(Emphasis added).

       [23.]   Less than a year after being hired by Premier, Brackin became an employee of

WMI and was appointed President of the company on September 8, 2015. Brackin remained in

that position until he was terminated on March 3, 2020.

C.     BRACKIN’S PURSUIT OF A PURCHASE OF WMI AND ICE

       [24.]   In early 2018, the Sweeneys began to explore the possibility of selling WMI and

ICE. Brackin expressed an interest in purchasing the companies. Through the summer of 2018,

the parties discussed the terms of a deal, and negotiated a term sheet for Brackin to purchase the

companies. SFH also contemporaneously agreed to not pursue a sale of WMI and ICE to a third

party for a specified period of time to allow Brackin to commit the necessary time, effort and

money to the process of negotiating and completing the purchase.

       [25.]   Brackin incorporated Specialty Aviation Holdings Corporation (“SAHC”), a

Delaware corporation, on October 12, 2018. Based on conversations with Brackin, the draft term

sheet, and a draft purchase agreement, WMI, ICE and the Sweeneys understood that Brackin

formed SAHC to be the purchaser entity for WMI and ICE. It subsequently became clear that

Brackin instead used SAHC, and other entities he owned or with which he had a relationship, for

other nefarious purposes as described below.

       [26.]   Brackin pursued partners in 2018 and throughout 2019 to provide the debt and

equity necessary to buy WMI and ICE. During that time period, Brackin and the Sweeneys

continued to exchange drafts of a potential purchase agreement, and they extended the

exclusivity period for their negotiations to allow Brackin to continue his efforts to locate capital.

Multiple times at the end of 2018 and in 2019, Brackin assured the Sweeneys he would have the



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capital and be ready to close. Upon information and belief, however, Brackin was unable to

raise the requisite capital, in part, because his proposals to prospective investors demanded that

he would own a majority of the companies and exercise control despite investing only a small

amount of the capital needed to buy the companies.

       [27.]   Brackin was involved with other entities in 2019 in connection with his efforts to

obtain capital, including the following:

               (a)     At some point in late 2018 or early 2019, Brackin met Subhash Patel
                       (“Patel”), an individual who does business regularly in India and is the
                       principal executive of Sunag, LLC (“Sunag”), a New Jersey limited
                       liability company, to discuss working together in connection with, and
                       after, Brackin’s purchase of WMI and ICE.

               (b)     Sunag and Brackin formed WMI Sunag LLC (“WMI Sunag”), a New
                       Jersey limited liability company, on March 29, 2019. A true and correct
                       copy of WMI Sunag’s Certificate of Formation is attached hereto as
                       Exhibit 4 and incorporated herein by reference. WMI Sunag’s Certificate
                       of Formation states that its members/managers are WMI and Sunag.
                       Sunag has confirmed that WMI Sunag has two members: (i) WMI owning
                       a 51% membership interest; and (ii) Sunag owning a 49% membership
                       interest.

               (c)     On May 24, 2019, Brackin, through SAHC, purchased Advanced Radar
                       Company, LLC (“ARC”), a Colorado limited liability company. WMI
                       and ARC are competitors in the radar business. The purchase price paid
                       by SAHC for ARC was funded primarily via a promissory note and an
                       earn out to be paid in the future. Brackin purchased ARC without any
                       notice to or discussion with WMI or the Sweeneys.

       [28.]   A summary chart of the entities that Brackin owned and/or utilized in furtherance

of his scheme is set forth below:




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                    ENTITY NAME                               OWNER

        Sunag                                               Patel
           • New Jersey LLC,
           • Formed in February 2016

        SAHC                                                Brackin
          • Delaware corporation
          • Formed on October 12, 2018

        WMI Sunag                                           WMI (51%)
          • New Jersey LLC                                  Sunag (49%)
          • Formed on March 29, 2019

        ARC                                                 SAHC
          • Colorado LLC
          • Purchased on May 24, 2019



       [29.]   Based on assurances that Brackin would proceed to closing, the Sweeneys were

patient and continued to allow Brackin the time to raise the capital until early 2020, when it

became apparent that Brackin did not have the necessary capital to purchase the companies.

Moreover, Brackin sought to materially change the purchase terms from what had been

negotiated in the draft purchase agreement months before.

       [30.]   It was at this point in time that things began to unravel for Brackin when his

misconduct vis-à-vis WMI and Fargo Jet was revealed. The misconduct that WMI and Fargo Jet

have been able to uncover to date is described below. Their investigation continues.

D.     BRACKIN’S MISAPPROPRIATION OF PROJECT PAYMENTS

       [31.]   Throughout 2018, 2019 and into early 2020, Brackin was supposed to be focused

on leading WMI, and complying with his fiduciary and contractual duties to WMI. As has been

recently revealed, however, Brackin orchestrated a series of transactions to take or try to take

company assets from WMI.




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       [32.]   For many years WMI provided Weather Modification Services to states in India.

It is customary when doing business in India for a foreign company like WMI to contract with a

company in India, and that Indian company then contracts directly with the relevant state in

India. Kyathi Climate Modification Consultants LLP (“KCMC”) is the Indian company that

historically has contracted with various states in India to provide cloud seeding. For the Weather

Modification Services it provided in India, WMI would usually enter into subcontracts with

KCMC contemporaneously with KCMC contracting with the relevant state. WMI and KCMC

would typically work for months to procure these projects.

       [33.]   In 2019, WMI had several projects in India, one of which was for the state of

Maharashtra. In pursuit of that project, Brackin established and used a multi-entity structure to

divert funds and business opportunities away from WMI and to his company, SAHC, or other

entities that he utilized in furtherance of his scheme.

       1.      The Maharashtra project contracts

       [34.]   In 2019, the state of Maharashtra submitted requests for proposal for a cloud

seeding project, and KCMC and WMI submitted a bid proposal in response thereto. Brackin was

the person primarily responsible at WMI for the Maharashtra project and managing the bid

process. Brackin prepared the proposal for the project, which included the price that WMI was

to be paid for the project totaling $2,100,000. Brackin’s proposal was approved by WMI and the

Sweeneys. KCMC and WMI were notified in late June 2019 that they had been awarded the

project. Brackin advised WMI executives that Sunag was going to be involved in the project to

ensure full payment of the $2,100,000 project price to WMI, but no agreement was ever

tendered.




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       [35.]   On July 1, 2019, KCMC and the state of Maharashtra entered into a cloud seeding

contract. A true and correct copy of the cloud seeding contract between KCMC and state of

Maharashtra is attached hereto as Exhibit 5 and incorporated herein by reference.

       [36.]   Brackin secretly had KCMC contract with WMI Sunag (which WMI co-owned

with Sunag) for the work to be performed for the Maharashtra project, even though WMI was the

company that would perform the work.

       2.      SAHC’s Short Term Loan Agreement with Sunag

       [37.]   On July 1, 2019, the same day KCMC contracted with the state of Maharashtra,

SAHC2 entered into a purported Short-Term Loan Agreement (“Loan Agreement”) with Sunag.

A true and correct copy of the Loan Agreement is attached as Exhibit 6 and incorporated herein

by reference. As explained below, the Loan Agreement evidences an unauthorized diversion of

funds arranged by Brackin in relation to the Maharashtra project.

       [38.]   Section 1.1 of the Loan Agreement provides that (a) SAHC has undertaken a

project with WMI Sunag and KCMC for the “Maharashtra State Government,” (b) SAHC is

“funding the work on” the Maharashtra project “thru [sic] WMI Sunag,” and (c) Sunag may fund

the loan “directly to” SAHC or “thru [sic] WMI Sunag.”

       [39.]   Sections 1.2, 1.3, 1.4 and 1.5 of the Loan Agreement provide that Sunag agrees to

loan to SAHC a total of $1,900,000 for a six-month period at an interest rate of 7.5%, with an

additional fee of $128,750 to be paid to Sunag.




2
        SAHC states in the Loan Agreement that it is doing business as “Weather Modification
International.” This is a tradename owned by WMI, not by SAHC. A true and correct copy of
the Certificate of Trade Name Registration for Weather Modification International is attached as
Exhibit 7 and incorporated herein by reference.


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       [40.]   Section 1.6 of the Loan Agreement provides that the principal, plus interest and

fees, are due on January 1, 2020. The total amount owed by SAHC to Sunag was $2,100,000 as

follows:

                          Principal        $1,900,000
                          Interest         $71,250
                          Fees             $128,750
                          TOTAL            $2,100,000

This total of $2,100,000 is the exact same amount as the price that should have been paid to

WMI for the Maharashtra project.

       [41.]   Section 1.6 of the Loan Agreement provides that loan proceeds will be remitted

on July 1, 2019, the date of the Loan Agreement, to “enable [SAHC] to fund working on” the

Maharashtra project.

       [42.]   Section 1.7 of the Loan Agreement provides that the loan is to be repaid in four

installments, which aligned approximately with the anticipated payments on the Maharashtra

contract from KCMC, and all payments received by WMI Sunag from KCMC are to be treated

as repayment of the loan. Section 1.7 further provides that, if there is “any non-payment by

KCMC,” the shortfall shall be SAHC’s responsibility.

       [43.]   The Loan Agreement evidences Brackin’s misconduct and breaches of his

fiduciary and contractual duties to WMI. In summary, Brackin participated in creating a new

entity, WMI Sunag, of which the Sweeneys were not aware. Brackin then had funds from the

Maharashtra project funneled through WMI Sunag to his newly-formed company, SAHC, to

WMI’s detriment.

       [44.]   First, the Loan Agreement provides that SAHC was to take the $2,100,000 paid

by KCMC and apply it to the principal, interest and additional fees to be paid to Sunag as lender

under the Loan Agreement.



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       [45.]   Second, the Loan Agreement references a purchase order issued to WMI Sunag

from KCMC. This purchase order properly should have been issued to WMI, not WMI Sunag.

       [46.]   Third, the Loan Agreement provides that the loan proceeds were to be used to

fund the costs of performing the work needed to complete the Maharashtra project. WMI did all

of the work for the project without receiving full payment for the project.

       [47.]   Fourth, in the Loan Agreement, SAHC used a tradename owned by WMI without

its consent.

       [48.]   These actions evidence, among other things, a usurpation of corporate

opportunity, conversion and misappropriation of a corporate asset and use of confidential

information in breach of Brackin’s fiduciary and contractual duties owed to WMI.

       3.      SAHC’s July 2019 Memorandum of Understanding with Sunag

       [49.]   On July 9, 2019, just eight days after executing the purported Loan Agreement,

SAHC and Sunag entered into a purported Memorandum of Understanding (“MOU No. 1”). A

true and correct copy of MOU No. 1 is attached as Exhibit 8 and incorporated herein by

reference.

       [50.]   The “Whereas” clause in MOU No. 1 states that Brackin and Patel met in

Minneapolis on July 8 and 9, 2019, which was apparently their fourth meeting regarding “joint

business development.” MOU No. 1 states that Brackin and Patel discussed the following

“option”:

               (a)     Sunag loans a total of $2,000,000 to WMI Sunag, consisting of $1,900,000
                       in principal and a fee of $100,000 due to Sunag.

               (b)     Sunag made an initial disbursement of $850,000 to WMI Sunag on July 2,
                       2019.

               (c)     WMI Sunag transferred the $850,000 received from Sunag to SAHC.




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                   (d)   Sunag agrees to make four additional payments totaling $1,150,000 in July
                         and August 2019, for a grand total of $1,900,000.

           [51.]   MOU No. 1 also states that KCMC will pay to WMI Sunag the sum of $2,100,000

for the Maharashtra project. It further provides that $2,000,000 will go to Sunag, with the

remaining $100,000 retained by WMI Sunag as “profit.”

           [52.]   Brackin signed MOU No. 1, which is on SAHC letterhead, purportedly on behalf

of “SAHC and WMI” even though the document benefits SAHC and Brackin personally.

Brackin never disclosed MOU No. 1 to the Sweeneys or anyone else at WMI at the time he

signed it.

           [53.]   MOU No. 1 evidences further wrongdoing by Brackin.

           [54.]   First, MOU No. 1 describes the arrangement between SAHC and Sunag in

materially different terms than the Loan Agreement, which had been executed just a few days

earlier:

                   (a)   The loan amount is identified as $2,000,000, rather than $1,900,000.

                   (b)   The loan is not made in full on July 1, 2019, but rather is to be made in
                         installments in July and August, 2019.

                   (c)   The payments from Sunag now are to be made to SAHC, and not WMI
                         Sunag.

                   (d)   Sunag was to receive $2,000,000 of the $2,100,000 paid by KCMC for the
                         Maharashtra project to repay Sunag’s $1,9000,000 loan and provide Sunag
                         with an additional $100,000 fee. The remaining $100,000 from the
                         KCMC payment would be retained by WMI Sunag as a profit.

           [55.]   Second, although MOU No. 1 provides that loan payments are to be made to

SAHC, the Maharashtra project payments received by WMI Sunag from KCMC were

purportedly to be paid directly to Sunag to repay the loan to SAHC. As the President of WMI,

the company that actually performed the cloud seeding work, Brackin was obligated to ensure

that project payments due to WMI for its work were not diverted.


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         4.      SAHC’s August 2019 Memorandum of Understanding with Sunag

         [56.]   On August 28, 2019, SAHC 3 and Sunag entered into a second purported

Memorandum of Understanding (“MOU No. 2”). A true and correct copy of MOU No. 2 is

attached as Exhibit 9 and incorporated herein by reference. While MOU No. 2 focuses on

broader commitments that Sunag was going to make in potential ventures with Brackin—to the

exclusion of WMI—several provisions in MOU No. 2 concern the “Maharashtra State

Government Project.”

         [57.]   Section 5 of MOU No. 2 states that Sunag had provided WMI Sunag $1,500,000

for the Maharashtra project. Section 7 of MOU No. 2 states that the cash outlays by Sunag for

the Maharashtra project are $1,900,000—not the $2,000,000 that is stated in MOU No. 1, or the

$2,100,000 project price that was to be paid to WMI.

         [58.]   Although MOU No. 2 states that it is between SAHC and Sunag, Brackin again

signed the document purportedly as President of WMI.

         [59.]   MOU No. 2 evidences Brackin’s use of WMI assets for his own benefit, in an

attempt to leverage WMI’s assets in support of developing a personal broader relationship with

Sunag.

         5.      SAHC’s January 2020 Agreement with Sunag

         [60.]   In early 2020, the Sweeneys were becoming concerned about the lack of

transparency from Brackin about the Maharashtra project and other matters. On January 21,

2020, the Sweeneys, their CFO and an advisor met with Brackin in Fargo, North Dakota. The

purpose of the meeting was to discuss the Maharashtra project and the funds for all of WMI’s

projects in India.

3
      Like the Loan Agreement, SAHC states in MOU No. 2 that it is doing business as
“Weather Modification International.” Again, this is a tradename owned by WMI, not by
SAHC.


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       [61.]   Two days after the meeting, Brackin, through SAHC, entered into yet another

purported agreement with Sunag, this one titled Sunag and SAHC Agreement (the “S&S

Agreement”). A true and correct copy of the S&S Agreement is attached as Exhibit 10 and

incorporated herein by reference. The S&S Agreement evidences more misconduct by Brackin.

       [62.]   The S&S Agreement provides as follows:

       Sunag understands that SAHC has need for funds necessary to advance the
       Transaction, including payments to legal counsel, financial advisors, appraisers,
       and others, and for reimbursement of Transaction-related costs to obtain
       commitments to purchase debt and equity from lenders and investors and to lease
       equipment from leasing companies.

       On or about July 3, 2019, Sunag as Lender provided a loan of $850,000.00 to
       SAHC as Borrower with the intent of assisting with payment of these amounts.
       The attached Promissory Note further describes the terms and conditions of the
       loan.4

       On or about July 3, 2019, Sunag as Lender provided a loan of $1,900,000.00 to
       WMI as Borrower with the intent of assisting with payments to support the
       Maharashtra Cloud Seeding Program.

       On our [sic] about October 11, 2019, Sunag committed direct funding on behalf
       of WMI in the amount of $500,000.00 and Fargo Jet Center (FJC) in the amount
       of $500,000.00 towards Bid Bonds in support of the Indian Institute of Tropical
       Meteorology (IITM) project.

       Mr. Suhash Patel and Mr. Neil Brackin also discussed and explored funding from
       Sunag in support of WMI and SAHC transactions as per MOU’s dated July 9,
       2019 and August 31, 2019.

       Sunag will provide funding to WMI in the amount of $850,000.00 with effective
       date of April 1, 2020.

       WMI will provide an exclusive agreement with Sunag for bidding, executing and
       completion of Maharashtra India Cloud Seeding programs from 2020-23 and the
       IITM IAS Project listed herein.


4
       WMI eventually obtained in March 2020 a copy of the purported promissory note for
$850,000, dated July 3, 2019, but it purports to be between SAHC and Sunag Corporation
(USA), which is an entity that is not party to any other document. A true and correct copy of the
July 3, 2019 Secured Promissory Note is attached as Exhibit 11 and incorporated herein by
reference.


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       If the above exclusive agreement between WMI and Sunag is not established,
       executed or is cancelled, the Promissory Note from Mr. Neil Brackin to Sunag
       dated January 23, 2019 will becomes effective.

(Emphasis added).

       [63.]    The S&S Agreement evidences further wrongdoing by Brackin.

       [64.]    First, the S&S Agreement was another attempt by Brackin to conceal the true

intent of the previous transactions wherein he arranged for the diversion of funds owed to WMI

to himself and/or his company, SAHC.

       [65.]    Second, the S&S Agreement also suggests for the first time that there was a direct

loan from Sunag to SAHC for $850,000 and second loan to WMI for $1,900,000. There was no

loan to WMI, and all documents prior to the S&S Agreement state that the loan was made to

SAHC on July 1, 2019 for $1,900,000. Moreover, there is no prior evidence of any loan to

SAHC for $850,000.

       6.       Brackin continues to obfuscate and delay

       [66.]    In light of Brackin’s above-described actions, on February 11, 2020, WMI’s

CEO, Patrick Sweeney, sent a letter to Brackin to notify him of various issues pertaining to his

actions. A true and correct copy of this February 11, 2020 letter is attached as Exhibit 12 and

incorporated herein by reference. The February 11, 2020 letter provides as follows:

       This letter is to serve notice to you because of your continuing lack of
       communication and disregard for the direction that I have given you with your
       current position in Weather Modification International (WMI).

       You will NOT, without my permission in writing, do the following:

            •   enter into any contracts that are in any way related to or involve WMI,
                directly or indirectly. The Sunag arrangements are an example of where
                you were not authorized, this situation will be reviewed in detail and dealt
                with appropriately.

            •   submit any budgets or proposals



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           •   hire anyone

           •   no travel for you or any employees without my approval

           •   all emails that involve WMI and ICE in any way, directly or indirectly,
               shall be done on WMI email system

           •   WMI and Ice letterhead and logo’s will not be used by you for any
               purpose other than WMI and ICE business

           •   submit weekly written reports to me regarding WMI and ICE
               communications with clients and prospects of current and future potential
               contracts

       Further, I would like you to probe further regarding what money Sunag already
       has received from India on the Maharashtra contract on our behalf. You
       promised the Fargo office a $900,000 payment 3 weeks ago and nothing has
       arrived. WMI must collect $2,100,000 for our services in Maharashtra. Also,
       the other India payments are due, process these payments to WMI immediately.

       In addition, you must arrange a meeting with Sunag as soon as possible, either in
       Fargo or in New Jersey. I am free to travel to either location on short notice.

       Finally, arrange a call with you and me to your equity source (Midwest) for an
       update on their progress.

(Emphasis added).

       [67.]   Brackin signed the February 11, 2020 letter on February 13, 2020 to acknowledge

his receipt and understanding thereof. The same day, Brackin also emailed WMI to provide

some of the requested information. A true and correct copy of Brackin’s February 13, 2020

email is attached as Exhibit 13 and incorporated herein by reference. Brackin’s February 13,

2020 email stated, in relevant part, the following:

       KCMC assured a small payment today to help payroll

       KCMC assured balance of the total $800K due will be sent Friday or Monday

               Final Karnataka remains as previously noted for mid-April after
               arbitration

       Sunag team is in India until February 22

               Meeting requested and to occur in Fargo the week of February 23


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               Update on IITM and Maharashtra 2020 expected

               Sunag commitment remains for $900k no later than April 1

(Emphasis added).

       [68.]   When the meeting with Sunag was not confirmed for the week of February 23,

2020 as promised, WMI followed up with another letter to Brackin on February 24, 2020. A true

and correct copy of this February 24, 2020 letter is attached as Exhibit 14 and incorporated

herein by reference. The February 24, 2020 letter provides, in relevant part, as follows:

       First, I want to make sure we continue to be very clear regarding the Maharashtra
       contract.

       In July, 2019, you entered into a contract with KCMC on behalf of an entity
       called WMI Sunag regarding the Maharashtra project. As you know, you never
       informed us of the fact that you were doing that. And, this is inconsistent with
       how all contracts in the past have been executed. In the past, they were always
       executed by WMI. You were at that time the President of WMI and in that
       capacity should have executed that contract on behalf of WMI.

       You then provided to WMI and to us the pricing proposal which shows that the
       transaction was with WMI and not WMI Sunag. That pricing proposal showed
       that $2.1 million was to be paid WMI. The lack of disclosure of WMI Sunag
       continued to keep us uninformed of the contract you signed in February.

       Then, when you entered into the wet lease in June, 2019, you had the
       agreement executed by WMI and Fargo Jet, with no mention of WMI Sunag.
       This further kept us uninformed.

       When you originally informed us in the summer of Sunag, you stated that Sunag
       was going to be a factoring company, meaning that Sunag would (a) ensure the
       timely payment of the WMI receivables from Maharashtra and (b) take the risk of
       nonpayment from Maharashtra. You did not provide us any documentation to
       support your assertion. In fact, and unfortunately, Sunag did not ensure the timely
       payment of the WMI receivables as we are still owed approximately $900,000.

       After inquiring of you on several occasions in the Fall and Winter about the
       payments and the arrangements with Sunag, you generated and had signed by
       Sunag in January 2020 a letter to “clarify” the relationship with Sunag that you
       initiated. For the first time, the relationship was described as Sunag providing a
       loan to WMI. You never provided us the terms of the loan or a promissory note.
       More importantly, fundamentally, there never was a loan. Sunag never advanced




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       any money to WMI on the Maharashtra project. Instead, it has received funds
       from Maharashtra that it has not been provided to us.

       We have now come to learn from Prakash [of KCMC] that Sunag received full
       payment from KCMC for the Maharashtra contract. When I asked Prakash
       recently why Prakash paid funds to Sunag instead of the WMI, Prakash stated
       that you told him to do so. These are funds that are owned by and owed to WMI.

       You promised in no uncertain terms that those funds would be paid in full at the
       end of January when we met with you in Fargo around January 20. You now
       indicate that the funds will be paid on April 1, 2020. We never agreed to Sunag’s
       involvement in the Maharashtra project. We never agreed to a delay in payment
       and we are not now agreeing to a further delay in payment. The funds are with
       Sunag because of contracts you signed and instructions you gave to others.
       Please correct the error and have the funds directed to us immediately.

       Furthermore, in your email below, you committed that Sunag will meet with us
       upon return from India. You further said that they are arriving back in the United
       States tomorrow. Similarly, in your email dated January 28, 2020, you stated that
       Sunag “would like to have a meeting in mid-February in Fargo to review the past
       year and solidify the plans for 2020.” I request that this meeting occur next week,
       before the end of the month of February. Please ensure that the prompt payment
       of the money they have received from Maharashtra project is on the top of the
       agenda.

       Separately, you have informed us that Sunag also has lent you $850,000. Those
       transactions are completely separate from WMI. We are not part of those
       transactions and they should not, in any way, relate to the obligations you have to
       cause the remaining Maharashtra funds to be provided to WMI.

       Furthermore, you made us aware of and we participated in the transaction to have
       Sunag put up bonds for future work for WMI. This is a completely separate
       transaction from the Maharashtra transaction and should be treated as such.

(Emphasis and bracketed information added).

E.     RECONCILIATION OF SUNAG PAYMENTS

       [69.]   In early March 2020, Patrick Sweeney contacted Patel, President and CEO of

Sunag, to obtain information to understand the relationship between Sunag and Brackin and to

account for the funds in respect of the Maharashtra project that rightfully belong to WMI.




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       [70.]   Patel thereafter provided an accounting of the transactions as of February 27,

2020. A true and correct copy of this accounting is attached as Exhibit 15 and incorporated

herein by reference. The accounting is depicted below:




       [71.]   This accounting describes the transactions as Sunag’s “investment” in WMI

Sunag reflects four payments from Sunag to WMI Sunag between July and December 2019,

totaling $1,900,000.

F.     THE MOTIVATION FOR BRACKIN’S IMPROPER ACTIONS

       [72.]   Brackin engaged in the above-described misconduct because he was unable to

locate the capital necessary to close on his planned purchase of WMI and ICE. Not only was

Brackin incurring transactional expenses that he could not pay, but he had also purchased ARC

through SAHC, and he needed money to satisfy his payment obligations in connection therewith.

       [73.]   Brackin acted in 2019 as if his purchase of WMI had closed and he already owned

WMI, so he could direct funds as he saw fit. But, the transaction did not close and Brackin did

not own WMI. At a minimum, Brackin misappropriated nearly $1,000,000 from WMI and used

it and other WMI corporate assets for his own benefit. WMI’s investigation continues.


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G.     WMI’S DAMAGES RELATING TO THE MAHARASHTRA PROJECT

       [74.]    Of the $2,100,000 that KCMC paid for the Maharashtra project—all of which

should have been directed to WMI in the first place—WMI has received just $1,075,000. The

following chart identifies the flow of funds Brackin arranged from Sunag to WMI Sunag, and

from WMI Sunag to SAHC, and from SAHC to WMI:

               Date         (1) Payments from       (2)     Payments (3)   Payments
                            Sunag to WMI            from WMI Sunag from SAHC to
                            Sunag                   to SAHC          WMI
               7/3/19       $850,000                $850,000
               7/12/19                                               $500,000
               7/13/19      $300,000                $300,000
               8/1/19       $350,000                $350,000
               9/20/19                                               $500,000
               11/4/19      $200,000                $200,000
               12/11/19     $200,000                $200,000
               12/11/19                                              $75,000
               Total        $1,900,000              $1,900,000       $1,075,000

       [75.]    By virtue of Brackin’s conduct, $1,025,000 of the full project price was diverted

away from WMI and remains due and owing from Brackin.

H.     BRACKIN IS TERMINATED AND MORE MISCONDUCT IS DISCOVERED

       [76.]    On March 3, 2020, WMI terminated Brackin’s employment with the company, as

well as his status as WMI’s President. Notwithstanding his termination, Brackin continues to

wrongfully hold himself out publicly, including on his LinkedIn profile,5 as WMI’s President.

       [77.]    Following Brackin’s termination, WMI discovered that Brackin had taken various

actions, in violation of his fiduciary and contractual obligations to WMI and Fargo Jet, to divert

projects or potential projects from WMI and Fargo Jet to Brackin personally or his entities or

other entities that he utilized in furtherance of his scheme.




5
       See Ex. 16, https://www.linkedin.com/in/neil-brackin-32b18026/ (last visited 4/2/20).


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       [78.]   Brackin has knowledge about the projects identified below and WMI’s

proprietary methodology, processes, specifications and financial information only as a result of

his role as an employee and President of WMI. Brackin was the lead person on the projects for

WMI and had information and knowledge about the contracts or proposals for each of them,

including all of the terms related thereto such as the customer, the nature of the project, the

financial terms, the methodologies, processes, specifications, and the companies and specific

people in those companies who are involved in the project.          All of this project-related

information and knowledge is WMI’s property and is proprietary and confidential.

       1.      The ULTRA project

       [79.]   In the summer of 2019, WMI was retained as a subcontractor for the University of

North Dakota on a project with SpaceX and NASA. One of the other vendors on that project

was Aerospace Corp. (“Aerospace”). WMI has also worked on other projects with Aerospace.

       [80.]   Throughout 2019 and into 2020, Aerospace and WMI, through Brackin, worked

on a new potential project called “ULTRA” that is an advanced system to aid NASA and others

to monitor several key elements for the launch of rockets.          The ULTRA project uses

sophisticated equipment mounted on airplanes surrounding the launch site to, among other

things: (a) track possible intrusions into the launch area; (b) monitor weather from within the

clouds in proximity to the launch site; and (c) monitor the launch and release of key rocket

boasters after launch. The specific details of the ULTRA project are confidential and clearance

from NASA is required for any release of information about the project. Proposals for the

ULTRA project have been made to various entities around the world, including entities in Japan

and India.

       [81.]   WMI has received clearance and approval from NASA to receive confidential

information regarding the ULTRA project. Neither Brackin individually, nor any of the other


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entities described above in which he has an interest or that he used in furtherance of his scheme

are authorized to receive or have confidential information relating to the project.

       [82.]   Nonetheless, following his termination from WMI, Brackin has sought to steer the

ULTRA Project from WMI to his company, ARC. On March 18, 2020, after Brackin was

terminated by WMI, Brackin sent an email to two executives at Aerospace with whom he has

been working, as a follow up to his phone call with them earlier that day: “As discussed, I truly

look forward to our continued collaboration to assure ULTRA continues to move forward and

become the success we all envision.” In response to Brackin’s email, the Aerospace executive

directed an Aerospace employee in an email to “create a new lead for Neil under his new

company name … Advanced Radar Company.”

       [83.]   Further, after the Aerospace executive became aware of the Brackin’s

termination, the Aerospace executive sent an email to WMI seeking to be paid for invoices for

the services of Aerospace to WMI purportedly from July through December, 2019. Brackin had

never before submitted these invoices to WMI’s accounting department for payment, and WMI

has no knowledge of the services for which Aerospace is apparently seeking payment. To the

extent Aerospace did, in fact, perform services, they were in furtherance of Brackin’s scheme to

usurp corporate opportunities from WMI, and any associated expenses were not authorized by

and are not the responsibility of WMI.

       2.      The IITM project

       [84.]   WMI has in the past provided Weather Modification Services and planes to the

Indian Institute of Tropical Meteorology (“IITM”) in India. WMI and IITM have entered into

contracts annually for projects. Just like its projects with the Maharashtra state, WMI works as a

subcontractor for KCMC.




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       [85.]     In 2019, IITM submitted a request for proposal for a substantial project to be

awarded for 2020. WMI recently learned that, without its knowledge or consent, Brackin

submitted a proposal in 2019 on behalf of WMI Sunag and not WMI. In addition, WMI also

learned that Brackin’s proposal provided that the aircraft modifications and maintenance could

be performed by a competitor of Fargo Jet, Norwegian Special Mission (“NSM”), rather than

Fargo Jet.

       [86.]     Brackin’s actions in attempting to divert the IITM project from WMI and Fargo

Jet were in violation of his fiduciary and contractual duties owed to WMI and Fargo Jet.

Additionally, Brackin improperly disclosed and used WMI’s and Fargo Jet’s confidential and

proprietary information.     WMI’s and Fargo Jet’s investigation of Brackin’s conduct in

connection with the IITM project continues.

       3.        The ASO project

       [87.]     Airborne Snow Observatories, Inc. (“ASO”) measures and tracks snow,

snowmelt, and water resources from mountains around the globe and conducts quantitative,

physically-based and accurate remote sensing and snowmelt runoff modeling. ASO’s investors

include NASA, Jet Propulsion Laboratory/Caltech, California Department of Water Resources,

and Colorado Water Conservation Board.

       [88.]     In early 2019, Brackin contacted ASO about WMI potentially providing a plane

and certain equipment for ASO’s projects. Brackin provided proposals to ASO in August and

October, 2019 for business to be done in 2020.      In February 2020, Brackin contacted NSM, a

competitor of Fargo Jet, about providing a plane for the ASO project. WMI in the past has

always used a plane owned or leased by WMI from Fargo Jet or its affiliate in furtherance of

such projects.




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       [89.]   WMI has also recently learned that Brackin, without WMI’s knowledge or

authorization, had discussions with ASO in mid-2019 about (a) merging ASO with WMI after

Brackin closed on his acquisition of WMI and (b) thereafter taking the combined company

public in 2020. Brackin prepared and participated in detailed presentations with ASO and others

about the potential merger and post-merger actions. Without the knowledge or authorization of

WMI, Brackin used WMI employees and resources in his efforts relating to the potential merger

transaction. WMI’s investigation of Brackin’s conduct regarding the ASO project continues.

       4.      Other projects

       [90.]   WMI has worked for many years on projects with the Korean Meteorological

Association (“KMA”). WMI recently learned that, in 2019 and 2020 while he was employed by

and the President of WMI, Brackin worked on a proposal for WMI Sunag to provide services to

the Korean Government with WMI’s long-time representative in South Korea. WMI has also

learned that, as part of the proposal, WMI Sunag is proposing that it work with NSM instead of

Fargo Jet for the airplane to be used on the project.

       [91.]   Similar to Maharashtra, WMI has been working with the State of Karnataka in

India for several years with and through KCMC. Since his termination, Brackin has sought to

replace WMI for future cloud seeding projects in Karnataka.

       [92.]   Prior to Brackin’s termination, WMI was working on a proposal for Indonesia to

provide a cloud seeding project and a sale of an airplane for those services.        Since his

termination, Brackin has been attempting to direct the aircraft sale to NMS.

       [93.]   Brackin had information and knowledge regarding each of these projects and

WMI’s and Fargo Jet’s confidential proprietary information only by virtue of his status as an

employee and President of WMI. As such, he had fiduciary and contractual duties (a) during his

employment with WMI to take all appropriate actions in the best interests of WMI and (b) during


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and after his employment with WMI to maintain the confidentiality of all project-related

information.      By virtue of his above-described actions and inaction, Brackin breached his

fiduciary and contractual duties to WMI.

          [94.]   WMI and Fargo Jet are continuing their investigation into Brackin’s actions

regarding the above-described and other projects.

                                       CAUSES OF ACTION

                         COUNT I – BREACH OF FIDUCIARY DUTIES
                                  (WMI AND FARGO JET)

          [95.]   Plaintiffs restate and reallege the preceding paragraphs as though fully set forth

herein.

          [96.]   Pursuant to Sections 34-02-06, 34-02-11, and 34-02-14 of the North Dakota

Century Code, employees owe their employer a duty of loyalty during the period of their

employment.

          [97.]   Pursuant to Section 10-32.1-41 et seq. of the North Dakota Century Code, persons

serving as governors or officers of limited liability companies have fiduciary duties to the

company and its members, including duties of loyalty, good faith (including honesty), care, fair

dealing, and avoidance of self-dealing.

          [98.]   Brackin, by his above-described actions and inaction, and other wrongful conduct,

breached his fiduciary duties of loyalty and confidentiality owed to WMI as both an employee

and President of WMI and as a governor and officer of Fargo Jet by diverting projects and

money away from WMI and Fargo Jet and improperly retaining, using and/or disclosing WMI’s

and Fargo Jet’s confidential and proprietary information.

          [99.]   As a direct and proximate result of Brackin’s breaches of his fiduciary duties of

loyalty and confidentiality, WMI and Fargo Jet have suffered damages in an amount to be proven



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at trial and will continue to suffer irreparable harm for which it is entitled to preliminary and

permanent injunctive relief.

          [100.] Brackin’s breaches entitle WMI and Fargo Jet to exercise all available rights and

remedies, including without limitation, the right to obtain preliminary and permanent injunctive

relief and recover compensatory damages, reasonable attorneys’ fees, costs and other charges.

          [101.] WMI and Fargo Jet requests judgment: (a) finding that Brackin has breached his

fiduciary duties to WMI and Fargo Jet, (b) awarding injunctive relief as appropriate and (c)

awarding compensatory damages in favor of WMI and Fargo Jet and against Brackin in an

amount to be proven at trial, along with all accrued interest, reasonable attorneys’ fees, costs and

other charges.

                                   COUNT II – CONVERSION
                                           (WMI)

          [102.] Plaintiffs restate and reallege the preceding paragraphs as though fully set forth

herein.

          [103.] WMI has a property interest in the payments in respect of the Maharashtra

project, as well as the confidential and proprietary information that Brackin has taken and used

since his termination.

          [104.] Brackin’s unlawful taking and retention of WMI’s property has deprived WMI of

its property rights.

          [105.] WMI is entitled to be made whole for Brackin’s conversion.

          [106.] As a direct and proximate result of Brackin’s conversion, WMI has suffered

damages in an amount to be proven at trial and will continue to suffer irreparable harm for which

it is entitled to preliminary and permanent injunctive relief.




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          [107.] Brackin’s breaches entitle WMI to exercise all available rights and remedies,

including without limitation, the right to obtain preliminary and permanent injunctive relief and

recover compensatory damages, reasonable attorneys’ fees, costs and other charges.

          [108.] WMI requests judgment: (a) finding that Brackin has converted WMI’s property,

(b) awarding injunctive relief as appropriate and (c) awarding compensatory damages in favor of

WMI and against Brackin in an amount to be proven at trial, along with all accrued interest,

reasonable attorneys’ fees, costs and other charges.

               COUNT III – USURPATION OF CORPORATE OPPORTUNITY
                                      (WMI)

          [109.] Plaintiffs restate and reallege the preceding paragraphs as though fully set forth

herein.

          [110.] As an employee and President of WMI, Brackin occupied a fiduciary relationship

to WMI and was prohibited from exploiting his position by appropriating a business opportunity

properly belonging to WMI to himself personally or his entities or other entities that he utilized

in furtherance of his scheme.

          [111.] By his actions and inaction described herein, and other wrongful conduct, Brackin

appropriated business opportunities properly belonging to WMI, including the Maharashtra

project and the other projects or potential projects described above, to himself personally or his

entities or other entities that he utilized in furtherance of his scheme.

          [112.] By reason of Brackin’s breaches of fiduciary duty, all property and profits

acquired by Brackin or his entities or other entities that he utilized in furtherance of his scheme

relating to the Maharashtra project are subject to a constructive trust for the benefit of WMI.




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          [113.] As a direct and proximate result of Brackin’s usurpation of corporate opportunity,

WMI has suffered damages in an amount to be proven at trial and will continue to suffer

irreparable harm for which it is entitled to preliminary and permanent injunctive relief.

          [114.] Brackin’s conduct entitle WMI to exercise all available rights and remedies,

including without limitation, the right to obtain preliminary and permanent injunctive relief and

recover compensatory damages, reasonable attorneys’ fees, costs and other charges.

          [115.] WMI requests judgment: (a) finding that Brackin has breached his fiduciary

duties to WMI and usurped WMI’s corporate opportunities, (b) awarding injunctive relief as

appropriate and (c) awarding compensatory damages in favor of WMI and against Brackin in an

amount to be proven at trial, along with all accrued interest, reasonable attorneys’ fees, costs and

other charges.

                            COUNT IV – BREACH OF CONTRACT
                                (WMI AND FARGO JET)

          [116.] Plaintiffs restate and reallege the preceding paragraphs as though fully set forth

herein.

          [117.] The Confidentiality Agreement is a valid and binding contract.

          [118.] The Confidentiality Agreement provides, in relevant part, that (a) “research,

production methods, inventions, process methods, software, customer lists, company trade

secrets and financial information of all types are extremely confidential, and are the property of”

WMI, (b) “any unauthorized disclosure of any such confidential information would be in

violation of [Brackin’s] responsibilities and this agreement and would injure the Company,” (c)

“[Brackin] pledge[s] and agree[s] that [he] will strictly maintain the confidentiality of all of this

information, and that [he] will only release such information upon the proper authorization of

[his] Manager,” and (d) “[u]pon expiration or termination of [Brackin’s] employment with the



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Company, [he] will not reveal any confidential information unless specifically authorized and

directed to do so by” WMI.

          [119.] By his actions and inaction described herein, and other wrongful conduct, Brackin

materially breached his obligations under the Confidentiality Agreement.

          [120.] As a direct and proximate result of Brackin’s breach of contract, WMI and Fargo

Jet have suffered damages in an amount to be proven at trial and will continue to suffer

irreparable harm for which they are entitled to preliminary and permanent injunctive relief.

          [121.] Brackin’s breach of contract entitles WMI and Fargo Jet to exercise all available

rights and remedies, including without limitation, the right to obtain preliminary and permanent

injunctive relief and recover compensatory damages, reasonable attorneys’ fees, costs and other

charges.

          [122.] WMI and Fargo Jet request judgment: (a) finding that Brackin has breached the

Confidentiality Agreement, (b) awarding injunctive relief as appropriate, (c) awarding

compensatory damages in favor of WMI and Fargo Jet and against Brackin in an amount to be

proven at trial, along with all accrued interest, reasonable attorneys’ fees, costs and other

charges, and (d) ordering Brackin specifically perform the obligations set forth in the

Confidentiality Agreement and cease all actions in violation of his obligations under the

Confidentiality Agreement.

                       COUNT V – TORTIOUS INTERFERENCE WITH
                        PROSPECTIVE BUSINESS RELATIONSHIPS
                                (WMI AND FARGO JET)

          [123.] Plaintiffs restate and reallege the preceding paragraphs as though fully set forth

herein.




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       [124.] WMI and Fargo Jet had a reasonable expectation of future economic benefit

arising from relationships with existing and prospective customers for projects and potential

projects.

       [125.] As an employee and President of WMI and as a member of Fargo Jet, Brackin had

knowledge of WMI’s and Fargo Jet’s confidential and proprietary information regarding its

processes, specifications, methodologies and financial information, as well as WMI’s and Fargo

Jet’s reasonable expectation of prospective economic benefit related to its existing and

prospective customers for projects and potential projects.

       [126.] Brackin intentionally interfered with WMI’s and Fargo Jet’s reasonable

expectation of economic benefit without justification by unfairly competing against WMI and

Fargo Jet, and soliciting WMI’s and Fargo Jet’s customers by improperly using confidential and

proprietary information.

       [127.] As a direct and proximate result of Brackin’s tortious interference with

prospective business relationships, WMI and Fargo Jet have suffered damages in an amount to

be proven at trial and will continue to suffer irreparable harm for which they are entitled to

preliminary and permanent injunctive relief.

       [128.] Brackin’s tortious interference with prospective business relationships entitles

WMI and Fargo Jet to exercise all available rights and remedies, including without limitation, the

right to obtain preliminary and permanent injunctive relief and recover compensatory damages,

reasonable attorneys’ fees, costs and other charges.

       [129.] WMI and Fargo Jet request judgment: (a) finding that Brackin tortiously

interfered with WMI’s and Fargo Jet’s prospective business, (b) awarding injunctive relief as

appropriate and (c) awarding compensatory damages in favor of WMI and Fargo Jet and against




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Brackin in an amount to be proven at trial, along with all accrued interest, reasonable attorneys’

fees, costs and other charges.

                             COUNT VI – UNJUST ENRICHMENT
                                 (WMI AND FARGO JET)

          [130.] Plaintiffs restate and reallege the preceding paragraphs as though fully set forth

herein.

          [131.] As a result of the above-described actions, and other wrongful conduct, Brackin

has been unjustly enriched and WMI and Fargo Jet have been unjustly damaged in an amount to

be proven at trial.

          [132.] As a direct, foreseeable and proximate cause of Brackin’s unjust enrichment,

WMI and Fargo Jet have incurred and is entitled to recover compensatory damages, plus pre- and

post-judgment interest, costs, expenses and attorneys’ fees.

                                      PRAYER FOR RELIEF

          [133.] WHEREFORE, WMI and Fargo Jet respectfully request that this Court grant the

following relief:

          [134.] Enter judgment in favor of WMI and Fargo Jet and against Brackin, granting to

WMI and Fargo Jet any and all remedies sought herein;

          [135.] Award WMI and Fargo Jet all costs and expenses incurred herein, including

attorneys’ fees and costs;

          [136.] Award WMI and Fargo Jet pre-judgment and post-judgment interest, as allowed

by law; and

          [137.] Award WMI and Fargo Jet such other, further and different relief to which the

Court determines they are entitled.




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  [138.] Dated: April 7, 2020     TAFT STETTINIUS & HOLLISTER LLP



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